USCA4 Appeal:
          Case25-1228     Doc: 1    Filed: Document
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                                                                    FILED: March 11, 2025

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

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                                            No. 25-1228
                                    (6:24-cv-00041-NKM-CKM)
                                       ___________________

         ELLENOR ZINSKI

                      Plaintiff - Appellee

         v.

         LIBERTY UNIVERSITY, INC.

                      Defendant - Appellant


        This case has been opened on appeal.

         Originating Court                        United States District Court for the
                                                  Western District of Virginia at
                                                  Lynchburg
         Originating Case Number                  6:24-cv-00041-NKM-CKM
         Date notice of appeal filed in           03/03/2025
         originating court:
         Appellant(s)                             Liberty University, Inc.
         Appellate Case Number                    25-1228
         Case Manager                             Kirsten Hancock
                                                  804-916-2704
